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 5

 6
                            IN THE UNITED STATES DISTRICT COURT
 7
                              EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                 )     Case No. 1:12:00342 AWI
10                                             )
               Plaintiff,                      )
11                                             )     ORDER TO CONTINUE
                                               )     SENTENCING HEARING
12             v.                              )
                                               )     New date: September 8, 2014 at
13   SAM KOUNHAVONG,                           )     10:00 a.m.
                                               )
14         Defendant.                          )
15             Based on the stipulation between counsel, it is hereby ordered as follows:
16
               That the previously set sentencing hearing of July 7, 2014 at 10:00 a.m. be
17
     reset to September 8, 2014 at 10:00 a.m. due to the medical needs of defendant.
18

19   Time is waived under the Speedy Trial Act. The matter will be set for sentencing
20
     on September 8. 2014 at 10:00 a.m. before the Honorable Anthony W. Ishii, Judge
21
     of the Eastern District. All conditions of pretrial release remain in full force and
22

23   effect.
24

25
     IT IS SO ORDERED.
26
27   Dated: July 1, 2014
                                              SENIOR DISTRICT JUDGE
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     Case 1:12-cr-00342-DAD-BAM Document 132 Filed 07/02/14 Page 2 of 2


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